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                    EXHIBITB
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 2 of 62 Page ID #:14



                                                              ELECTROIIICALLY FILED
                                                               Superior Court of California,
      LAKESHORE LAW CENTER                                         County of Orange

    2
      Jeffrey Wilens, Esq. (State Bar No. 120371)              02/20/2018 at DB :DD :DO AM
                                                               Clerk of the Superior Court
      18340 Yorba Linda Blvd., Suite 107-610                  By \llcky Huang, Deputy Clerk
    3 Yorba Linda, CA 92886
    4 714-854-7205
      714-854-7206 (fax)
    s jeff@lakeshorelaw.org
    6
         Attorneys for Plaintiffs
     7

     8   ORANGE COUN1Y SUPERIOR COURT, STATE OF CALIFORNIA
     9       700   Civic Center Drive West, Santa Ana, California 92702
                                                          30-2018-0097434Q-CU-BT-CJC
    10   WILLIAM G. BREVEARD,               )   Case No. _ _ _ _ _ _ _ __
    II   SHAWN ALLEN CLAWSON,               )   Assigned for All Purposes to:
         ROBERT COHEN,                      )   Hon.    Judge Derek W. Hunt
    12   KATHERINE IRENE COURSEY,           )   Dept.
         TERENCE DRIVER,                    )   Complaint Filed:
    13   CRAIG S. DURHAM,                   )
         CHARLENE BRENDA EATON,             )   COMPLAINT FOR:
    14   PEARL EDWARDS,                     )   1. NEGLIGENCE
         SHANNON LEE EDWARDS,               )   2.   VIOLATION OF CONSUMER
    15   CHANVUTHTY EL,                     )   CREDIT REPORTING ACT
    16   CI.AITON MCKINLEY EVANS,           )   3. VIOLATION OF CONSUMER
         TYRONE GIBBS,                      )   RECORDSACT
    17   GEANENE GORDON,                    )   4. CONVERSION
         LETICIA V. GROOM,                  )
    18   KATHLEEN KAREN HANLEY,             )
         SILVIA HERNANDEZ,                  )
    19                                      )
         HEIDI JEANNETTE HETZER,
    20   JESSICA JOHNSEN,                   )
         KEITH JOHNSON,                     )
    21   JAMES ROBERT JONES,                )
         RYAN LIZARRAGA,                    )
    22   GENE CLARK MAXWELL,                )
         LUPITA MEDINA,                     )
    23                                      )
         MICHAEL BENJAMIN MIGEL,
    24   MIRRIAH MILLER,                    )
         KRISTINA ANN MOORE,                )
    25   TOM MULLEN,                        )
         MICHAEL G. MUNOZ,                  )
    26   DANIEL ANTHONY NARD ELLO,          )
    27   JENIFFER PALOMBA,                  )
         CHARIS DANALE PERKINS
    28

                                        COMPLAINT
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         WILLIAM E. PERRYMAN,                            )
         MICHELLE L. PHILLIPS,                           )
    2    PHILPRIDE,                                  .   )
         SARAH REID,                                     )
    3                                                    )
         SHANNON MARIE REYNOLDS,
    4    ELIZABETH RODRIGUEZ,                            )
         ANAROVANG,                                      )
    5    LUIS ALBERTO SALAZAR,                           )
         BERNADETTE SAVA,                                )
    6    RICHARD STANLEY SCHLETEWITZ,                    )
         BREYONA NICOLE SCOTT,                           )
     7
         JUSTIN JEROME SHIELDS,                          )
     8   BARBARA LOUISE SPICER,                          )
         JACKIE TAN,                                     )
     9   TAMAIKI RENEE THOMPSON,                         )
         AMYL. TROZERA,                                  )
    10   JENNIFER VASQUEZ,                               )
    tt   JO MARIA WATTLE,                                )
         CHARNIKKA RASHAWN WILLIAMS,                     )
    12                                                   )
                        Plaintiffs,                      )
    13                                                   )
                        v.                               )
    14                                                   )
    15   EQUIFAX INC., and Does 1 through 100            )
         Inclusive,                                      )
    16                                                   )
              Defendants. )
    17   11---------------~---------------1
    18   Plaintiffs allege as follows:
                                                  PARTIES
    19
         1.   Plaintiffs are individuals, competent adults and residents of the State of California.
    20
         2.   Plaintiffs are informed and believe, and thereupon allege, that defendant EQUIFAX,
    21
              INC., is now, and at all times mentioned in this Complaint was, a corporation based
    22
              in Atlanta, Georgia and doing business in the State of California and throughout the
    23
              United States.
    24
         3. Plaintiffs do not know the true names or capacities of the Defendants sued herein as
    25
              DOES 1 through 100 inclusive, and therefore sues these Defendants by such fictitious
    26
              names. Plaintiffs will amend this complaint to allege their true names and capacities
    27
              when ascertained. Plaintiffs are informed and believe, and thereon allege, that each
    28
                                                      2
                                                  COMPLAINT
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            of these fictitiously named Defendants is responsible in some manner for the
     2      occurrences herein alleged, and that Plaintiffs' damages as herein alleged were
     3      proximately caused by those defendants. Each reference in this complaint to
     4      "Defendant" or "Defendants'' or to a specifically named defendant refers also to all
     5      defendants sued under fictitious names.
     6   4. Plaintiffs are informed and believe, and thereon allege, that at all times herein
     7      mentioned each of the Defendants, including all Defendants sued under fictitious
     s      names, and each of the persons who are not parties to this action but are identified
     9      by name or otherwise throughout this complaint, was the alter ego of each of the
    1o      remaining defendants, was the successor in interest or predecessor in interest, and
    11      was the agent and employee of each of the remaining defendants and in doing the
    12      things herein alleged was acting within the course and scope of this agency and
    l3      employment.
    14   FIRST CAUSE OF ACTION FOR NEGLIGENCE AGAINST ALL DEFENDANTS

    15   5. Plaintiffs incorporate in this cause of action the allegations contained in paragraphs 1
    16      through 4, inclusive.
    17   6. Equifax is one of the three largest consumer reporting agencies in the United States.
    18      Equifax has over $3 billion in annual revenue, and its common stock is traded on the
    19      New York Stock Exchange.
    20   7. Equifax gathers sensitive personal information about hundreds of millions of
    21      Americans, organizes and collates that data into credit files, stores it on its own
    22      servers and sells or distributes reports based on that information.
    23   8. Equifax's consumer credit files include: the individuals' married and maiden names,
    24      current and past addresses, dates of birth, social security numbers, telephone
    25      numbers, and in some cases drivers' license information. The credit files also
    26      include credit account information (tradelines), including the creditor's name, type
    27      of account, date the account was opened, payment history, credit limit, and balance;

    28      credit inquiry information, including credit applications; and public-record
                                                     3
                                                 COMPLAINT
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               information, including liens, judgments, and bankruptcy filings. Sometimes the
    2          name of the business on the tradeline may disclose sensitive information about the
    3          consumer, as would be the case with a health care provider (a cancer center, a
    4          psychiatric facility or a drug rehabilitation facility, for example).
     5   9. On September 7, 2017, Equifax disclosed for the first time that between March 2017
     6         (originally it claimed the breach started in May 2017) and July 2017, Equifax allowed

     7         unauthorized third persons to access its database and steal personal information

     8         belonging to at least 143 million Americans, including the named Plaintiffs.

     9   10. In    February 2018, it was disclosed that Equifax had disclosed in documents

    10         submitted to the Senate Banking Committee that in some cases the stolen

    11         information included tax identification numbers, email addresses and phone

    12         numbers, as well as finer details, such as the expiration dates for credit cards or

    13         issuing states for driver's licenses.

    14   11.   The Plaintiffs' personal information that was stolen included that listed in the

    15         foregoing paragraphs.
         12. The    stolen information has been distributed through a global network commonly
    16

    17         used by criminals called "the dark web."

    18
         13. Plaintiffs have been identified by Equifax as persons whose personal information

    19
               was released to the unauthorized persons.
         14. Equifax owed a duty to Plaintiffs to keep their confidential information in
    20
               Defendant's possession safe from disclosure to unauthorized third parties.
    21
         15. Equifax breached this duty of care by failing to exercise due diligence in the hiring,
    22
               training and supervision of its employees who were entrusted with Plaintiffs'
    23
               confidential information, by failing to take and maintain adequate computer security
    24
               measures to protect this confidential information from unauthorized access, and by
    25
               delaying more than six weeks in disclosing the breach to affected consumers.
    26
         16. Although Equifax has not released all details pertaining to the "hacking" of its
    27
               database, it appears the intruders exploited a software application called Apache
    28
                                                           4
                                                       COMPLAINT
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           Struts. The potential vulnerability of the Apache Strut software was no secret.
    2      Security researchers with Cisco Systems Inc. warned in March    2017 that a   flaw in the
    3      Apache Struts software was being exploited in a "high number" of cyber-attacks.
    4       Despite this warning, Equifax continued to use the software. And Equifax was

     5      reportedly using an outdated version of Apache Struts at the time of the data breach.

     6   17. The sensitive personal and financial information compromised in this breach is

     7      extremely valuable to thieves and hackers. These criminals have gained access to

     8      complete profiles of individuals' personal and financial information. They can then

     9      use these data sets to steal the identities of the consumers whose information has

    10      been compromised or sell it to others who plan to do so. The identity thieves can

    11      assume these consumers' identities (or create entirely new identities from scratch) to

    12      make transactions or purchases, open credit or bank accounts, apply for medical

    13      services, apply for jobs, apply for loans, forge checks, commit immigration fraud,

    14      obtain a driver's license in the member's or customer's name, obtain government

    15      benefits, or file a fraudulent tax return.

    16
         18. They can also attempt to access the consumers' existing bank and brokerage

    17
            accounts by posing as the consumer during a phone conversation to "reset'' the

    18
            password or change the customer's mailing address or email address.
         19. When identity thieves fraudulently use a victim's personal information, the victim
    19
            frequently suffers financial consequences. When sensitive personal information is
    20
            compromised, consumers must exercise constant vigilance on their financial and
    21
            personal records to ensure that fraudulent activity has not occurred. Consumers are
    22
            forced to spend additional time monitoring their credit and finances as weU as
    23
            dealing with any potentially fraudulent activity. Consumers also face significant
    24
            emotional distress after theft of their identity. The fear of financial harm can cause
    25
            significant stress and anxiety for many consumers.
    26
         20.As a   direct and proximate result of the aforementioned negligent conduct by Equifax,
    27
            Plaintiffs sustained actual damages, including economic loss and emotional distress,
    28
                                                         5
                                                  COMPLAINT
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    1          in an amount according to prooft but subject to the limitation set forth in the Prayer
    2          for Relief.
    3    21.   Each of the Plaintiffs has experienced substantial and ongoing emotional distresst
    4          which has sometimes manifested in physical symptoms, as a result of the data
    5          breach.
    6    22. Each of the Plaintiffs has expended time and effort and incidental costs in an effort
     7         to mitigate the harm by researching and taking steps to ascertain whether his or her

     8         personal information has been used to commit identity theftt by placing security

     9         freezes or removing freezes on his or her credit reports, and will need to continue to

    10         do so for the foreseeable future.

    11         SECOND CAUSE OF ACTION FOR VIOLATION OF CONSUMER CREDIT

    12                       REPORTING ACT AGAINST ALL DEFENDANTS
    13   23. Plaintiffs incorporate in this cause of action the allegations contained in paragraphs 1
    14         through 22, inclusive.
    15   24. The California Consumer Reporting Agencies Act (CCRAA)t Civil Code § 1785 et.
    16         seq.t regulated consumer credit reporting agencies such as Equifax.
    17   25. A "consumer credit report" is any type of communication of any information from a
    18         consumer file by a consumer reporting agency that bears on a "consumer's credit
    19         worthiness, credit standingt or credit capacity, which is used or is expected to be
    20         usedt or collected in whole or in partt for the purpose of serving as a factor in
    21         establishing the consumer's eligibility for: (1) credit to be used primarily for
    22         personalt family, or household purposes, or (2) employment purposes, or (3) hiring
    23         of a dwelling unit, as defined in subdivision (c) of Section 194ot or (4) other purposes
    24         authorized in Section 1785.11."
    25   26.Civil Code§ 1785.11 provides that a consumer credit report can only be furnished to
    26         another person with written consent of the consumer, pursuant to court order, or
    27         when the other person "(A) Intends to use the information in connection with a
    28
                                                       6
                                                   COMPLAINT
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    1      credit transaction, or entering or enforcing an order of a court of competent
    2      jurisdiction for support, involving the consumer as to whom the information is to be
    3      furnished and involving the extension of credit to, or review or collection of an
    4      account of, the consumer; or (B) Intends to use the information for employment

     5     purposes; or (C) Intends to use the information in connection with the underwriting

     6     of insurance involving the consumer, or for insurance claims settlements; or (D)

     7     Intends to use the information in connection with a determination of the consumer's

     8     eligibility for a license or other benefit granted by a governmental instrumentality

     9     required by law to consider the applicant's financial responsibility or status; or

    10     (E) Intends to use the information in connection with the hiring of a dwelling unit,

    11     as defined in subdivision (c) of Section 1940; or (F) Otherwise has a legitimate

    12     business need for the information in connection with a business transaction

    13     involving the consumer.

    14   27.As previously alleged, Equifax (at a minimum) negligently "communicated"

    15     information from Plaintiffs' consumer files to unauthorized third parties.         The

    16
           information that was communicated was the type that was collected for purposes of

    17
           establishing the consumer's eligibility for personal credit, employment or to rent a
            dwelling. When Equifax communicated this information to the unauthorized third
    18

    19
            parties, it furnished a "report" for purposes of Civil Code § 1785.11.
         28. None of the Plaintiffs consented to disclosure of their consumer file to the
    20
            unauthorized third parties nor was there any court order authorizing that disclosure,
    21
            nor did the third parties have any of the legitimate purposes specified in§ 1785.11 (a)
    22
            through (f). Accordingly, Equifax violated Civil Code§ 1785.11.
    23
         29. Plaintiffs are informed and believe and thereupon allege that Equifax was
    24
            consciously aware of a high probability that its database was vulnerable to the data
    25
            breach that occurred but intentionally failed to take steps to remove that
    26
            vulnerability due to the high cost of taking such steps. Hence, as an alternative to
    27
            the negligence theory, it alleged that Equifax willfully violated the CCRAA.
    28
                                                     7
                                                 COMPLAINT
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         30.As a proximate and direct result of Equifax's violation of the CCRAA, Plaintiffs
    2       suffered actual damages including economic and general damages, but subject to the
    3       limitation set forth in the Prayer for Relief.
    4    31. Pursuant to Civil Code § 1785.31(a)(1), in the case of a negligent violation, Plaintiffs
     5      are entitled to recover "actual damages, including court costs, loss of wages,
     6      attorney's fees and, when applicable, pain and suffering," but subject to the
     7      limitation set forth in the Prayer for Relief. In this context, the term "attorney's fees"
     s      refers to such fees incurred to address the violation independently of the fees
     9      incurred in prosecuting this lawsuit.
    1o 32. In addition, pursuant to Civil Code § 1785.31(d), Plaintiffs are entitled to recover
    11      their attorney's fees incurred in prosecuting this action, but subject to the limitation
    12      set forth in the Prayer for Relief.
    13   33. Finally, pursuant to Civil Code § 1785.31(a)(2)(B), inasmuch as Equifax willfully
    14      violated the CCRAA, Plaintiffs are entitled to recover punitive damages of not less
    15      than one hundred dollars ($100) nor more than five thousand dollars ($5,000} for

    16      each violation as the court deems proper, in addition to the relief provided for

    17
            negligent violations, but subject to the limitation set forth in the Prayer for Relief.
           THIRD CAUSE OF ACTION FOR VIOLATION OF CONSUMER RECORDS
    18
    19                             ACT AGAINST ALL DEFENDANTS

    20   34. Plaintiffs incorporate in this cause of action the allegations contained in paragraphs 1
    21       through 33, inclusive.
    22   35. Civil Code§ 1798.81.5, the Consumer Records Act (CRA), provides that "a business
    23       that owns, licenses, or maintains personal information about a California resident
    24       shall implement and maintain reasonable security procedures and practices
    25       appropriate to the nature of the information, to protect the personal information
    26       from unauthorized access, destruction, use, modification, or disclosure."
    27   36. Equifax was a business subject to the foregoing provision inasmuch as it owned and
    28
                                                        8
                                                   COMPLAINT
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             maintained personal information about California residents (including Plaintiffs).
     2 37. For purposes of the Consumer Records Act, and as specified in Civil Code§ 1798.80
     3       (d), "personal information" includes the information disclosed by Equifax in the data
     4       breach.
     5    38.As a direct and proximate result of the violation of the Consumer Records Act,
     6       Equifax is liable to Plaintiffs for aU "actual damages" suffered by Plaintiffs including

     7       special and general damages as pied above, but subject to the limitation set forth in

     8       the Prayer for Relief.
     9    39. In addition, because Equifax's conscious and knowing reckless disregard in the

    10       handling of Plaintiffs' personal information was so extreme as to constitute malice,

    II       Plaintiffs are entitled to recovery of exemplary or punitive damages, but subject to

    12       the limitation set forth in the Prayer for Relief.

    13           FOURTH CAUSE OF ACTION FOR CONVERSION AGAINST ALL

    14                                         DEFENDANTS
     15   40.Plaintiffs incorporate in this cause of action the allegations contained in paragraphs 1
     16      through 39, inclusive.
     17   41. Prior to the aforementioned data breach, Plaintiffs were in possession, had the right
     18      to immediate possession, and were the owners with right to possession of certain
     19      intangible personal property-namely, their personal identifying information
    20       entrusted to Equifax including their names, addresses, dates of birth, social security
    21       numbers, and financial history.
    22    42.As previously alleged, Equifax permitted one or more unknown parties, their agents
     23      or employees to access and store Plaintiffs' personal identifying information in the
     24      normal course of their duties. It was reasonably foreseeable to Defendant that an
     25      agent or employee given this level of access, might misuse that information for
     26      personal gain or might fail to store the information in a secure manner. Defendant
     27      was aware that persons given similar access and responsibilities had misused or
     28
                                                       9
                                                   COMPLAINT
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     1       mishandled such information in the past either at Defendant's companies or at other
     2       companies known to Defendant.
     3    43. In permitting unauthorized persons to access Plaintiffs' personal identifying
     4       information, Equifax exercised ownership and control over the property in a manner
     5       inconsistent with Plaintiffs' property rights.
     6    44.As a direct and proximate result of the aforementioned acts of conversion committed
     7       by Equifax, Plaintiffs sustained actual damages, including economic loss and
     8       emotional distress as set forth previously, in an amount according to proof, but
     9       subject to the limitation set forth in the Prayer for Relief.
    1o 45. In addition, because Equifax's conscious and knowing reckless disregard in the
    11       handling of Plaintiffs' personal information was so extreme as to constitute malice,
    12       Plaintiffs are entitled to recovery of exemplary or punitive damages, but subject to
    13       the limitation set forth in the Prayer for Relief.
    14                                 REQUEST FOR JURY TRIAL

    15          WHEREFORE, Plaintiffs request trial by jury.
    16                                     PRAYER FOR RELIEF

     17         WHEREFORE, Plaintiffs pray for judgment on all causes of action against
     18   Defendant as follows:
     19   1. For compensatory damages on the first, second, third and fourth causes of action, in
    20       an amount according to proof subject to the maximum limit of $74,000 per plaintiff
    2I       including compensatory damages, punitive damages and attorney's fees;
    22    2. For punitive damages in an amount appropriate to punish Defendant for its wrongful
    23       conduct and to set an example for others, in an amount according to proof subject to
    24       the maximum limit of $74,000 per plaintiff including compensatory damages,
     25       punitive damages and attorney's fees;
     26   3. For interest on the sum of money awarded as damages;
     27   4. For reasonable attornefs fees pursuant to Civil Code § 1785.31 (d), pursuant to the
     28
                                                        10
                                                   COMPLAINT
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             Private Attorney General doctrine in Code of Civil Procedure§        1021.5,   pursuant to
     2       the "common fund" doctrine, and pursuant to the "substantial benefit" doctrine,
     3       subject to the maximum limit of        $74,000     per plaintiff including compensatory
     4       damages, punitive damages and attorney's fees.
     5    5. For costs of suit incurred herein; and
     6    6. For such other and further relief as the court may deem proper, except that Plaintiffs
     7       do not seek declaratory relief, injunctive relief or any other type of equitable relief.
     8    DATED: February 19, 2018
     9                         Respectfully submitted,
    10
    11
    12
                                 By
                                       ~
                                        ~~
                                       Attorney for Plaintiff
    13
    14    As counsel for Plaintiff, I join in the following stipulations for each Plaintiff.

    15    Signed on the above date by Jeffrey Wilens.
    16

     17

     18
     19

    20
                                   SEE ATIACHED STIPULATIONS
    21

    22

    23
    24
     25

     26
     27
     28
                                                        11
                                                   COMPLAINT
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                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    William G Breveard


    Print Name


                                     Feb 10, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 14 of 62 Page ID #:26




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Shawn Allen Clawson


    Print Name


                                     Feb 09, 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 15 of 62 Page ID #:27




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Robert Cohen


    Print Name


                                     Feb 09, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 16 of 62 Page ID #:28




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Katherine Irene Coursey


    Print Name


                                     Feb 08, 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 17 of 62 Page ID #:29




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Terence Driver


    Print Name


                                     Feb 09, 2018


    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 18 of 62 Page ID #:30




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Craig S Durham


    Print Name


                                     Feb 08, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 19 of 62 Page ID #:31




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Charlene Brenda Eaton


    Print Name


                                     Feb 13, 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 20 of 62 Page ID #:32




                        STIPUIATIQN TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Shannon Lee Edwards


    Print Name


                                     Feb 09, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 21 of 62 Page ID #:33




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Chanvuthty El


    Print Name


                                     Feb 08, 2018

    Date

    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 22 of 62 Page ID #:34




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Clayton Mckinley Evans


    Print Name


                                     Feb 08. 2018

    Date

    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 23 of 62 Page ID #:35




                        STIPUIATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.

                                                               (
   By


                                     Tyrone Gibbs

    Print Name


                                            Feb 16, 2018

    Date



  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 24 of 62 Page ID #:36




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Geanene Gordon


    Print Name


                                     Feb 11 . 2018


    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 25 of 62 Page ID #:37




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Leticia V Groom


    Print Name


                                     Feb 08, 2018


    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 26 of 62 Page ID #:38




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Kathleen Karen Hanley


    Print Name


                                     Feb 08, 2018

    Date

  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 27 of 62 Page ID #:39




                        STIPUIATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Silvia Hernandez


    Print Name


                                     Feb 08, 2018


    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 28 of 62 Page ID #:40




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Heidi Jeannette Hetzer


    PrintName


                                     Feb 08, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 29 of 62 Page ID #:41




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By


                                     Jessica Johnsen

    Print Name


                                            Feb 16, 2018

    Date



  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 30 of 62 Page ID #:42




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Ketth Johnson


    Print Name


                                     Feb 08, 2018


    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 31 of 62 Page ID #:43




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    James Robert Jones


    Print Name


                                     Feb 08, 2018

    Date

  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 32 of 62 Page ID #:44




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Ryan Lizarraga


    Print Name


                                     Feb OB, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 33 of 62 Page ID #:45




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Carl G Macki


    Print Name


                                     Feb 12, 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 34 of 62 Page ID #:46




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Gene Clark Maxwell


    Print Name


                                     Feb 08, 2018

    Date

  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 35 of 62 Page ID #:47




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Lupita Medina


    Print Name


                                     Feb 11 . 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 36 of 62 Page ID #:48




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Michael Benjamin Mrgel


   Print Name


                                     Feb 13, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 37 of 62 Page ID #:49




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifaxt he or she does not seek or ask fort and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damagest as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Mirriah Miller


    PrintName


                                     Feb 09, 201B

    Date


  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 38 of 62 Page ID #:50




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Kristina Ann Moore


    Print Name


                                     Feb 08, 2018

    Date

    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 39 of 62 Page ID #:51




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Tom Mullen


    Print Name


                                     Feb OB, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 40 of 62 Page ID #:52




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Michael G Munoz


    Print Name


                                     Feb 08, 2018


    Date

  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 41 of 62 Page ID #:53




                        STIPUIATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Daniel Anthony Nardella


    Print Name


                                     Feb 10, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 42 of 62 Page ID #:54




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $741 000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Jeniffer Palomba


    Print Name


                                     Feb 09, 2018

    Date



   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 43 of 62 Page ID #:55




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Charis Danale Perkins


    Print Name


                                     Feb 08, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 44 of 62 Page ID #:56




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    William E. Perryman


    PrintName


                                     Feb 08, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 45 of 62 Page ID #:57




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Michelle L Phillips


    Print Name


                                     Feb 09, 2018


    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 46 of 62 Page ID #:58




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Phil Pride


    Print Name


                                     Feb 08, 2018

    Date


    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 47 of 62 Page ID #:59




                        STIPUIATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Sarah Reid


    Print Name

                                     Feb 13, 2018

    Date

    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 48 of 62 Page ID #:60




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Shannon Marfe Reynolds


    Print Name


                                     Feb OB, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 49 of 62 Page ID #:61




                        STIPULATION TO UMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Elizabeth Rodriguez


    Print Name


                                     Feb 08, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 50 of 62 Page ID #:62




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Ana Rovang


    Print Name


                                     Feb 07, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 51 of 62 Page ID #:63




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Luis Alberto Salazar


    PrintName


                                     Feb 08, 2018

    Date

  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 52 of 62 Page ID #:64




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Bernadette Sava


    Print Name


                                     Feb 07, 2018

    Date

  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 53 of 62 Page ID #:65




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
    Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
    sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Richard Stanley Schletewitz


    PrintName


                                     Feb 14, 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 54 of 62 Page ID #:66




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                     Breyona Nicole Scott


    PrintName


                                     Feb 07, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 55 of 62 Page ID #:67




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Justin Jerome Shields


    Print Name


                                     Feb 11 . 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 56 of 62 Page ID #:68




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Barbara Louise Spicer


    Print Name


                                     Feb 07, 2018

    Date

    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 57 of 62 Page ID #:69




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Jackie Tan


    Print Name


                                     Feb 10, 2018

    Date

    As counsel for Plaintiff, I join in the above stipulation. Signed on the above
    date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 58 of 62 Page ID #:70




                        STIPULATION TO UMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Tamaiki Renee Thompson


    Print Name


                                     Feb 09, 2018

    Date


  As counsel for Plaintiff, I join in the above stipulation. Signed on the above
  date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 59 of 62 Page ID #:71




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax> he or she does not seek or ask for> and hereby waives his or her right to recover
   or accept> an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory> injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Amy L Trozera


    Print Name


                                     Feb 06, 2018

    Date
   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 60 of 62 Page ID #:72




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




   By

                                    Jennifer Vasquez


    Print Name


                                     Feb14, 2018

    Date


   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 61 of 62 Page ID #:73




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                    Jo Marra Wattle


    Print Name


                                     Feb 08, 2018

    Date

   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
Case 8:18-cv-00952-JLS-PJW Document 1-2 Filed 05/31/18 Page 62 of 62 Page ID #:74




                        STIPULATION TO LIMIT DAMAGES AND FEES
   The undersigned Plaintiff hereby stipulates that with respect to his or her claims against
   Equifax, he or she does not seek or ask for, and hereby waives his or her right to recover
   or accept, an amount in excess of $74,000 in this lawsuit. This amount includes all forms
   of damages including but not limited to special and general damages and punitive
   damages, as well as all attorney's fees.
   Plaintiff further stipulates that no declaratory, injunctive or other equitable relief is
   sought or will be sought in this lawsuit.
   This stipulation is valid as of the date of filing of the complaint in state court.
   This stipulation does not apply to or bind other plaintiffs in the same lawsuit.




    By

                                     Charnfkka Rashawn Wtlliams


    Print Name


                                     Feb 12, 2018

    Date



   As counsel for Plaintiff, I join in the above stipulation. Signed on the above
   date by Jeffrey Wilens.
